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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION


U NITED S TATES OF A MERICA
                                           Criminal Action No.
       v.
                                           1:21-CR-00109-AT-JSA-01
G EE -K UNG C HANG



             Motion to Continue Pretrial Conference

   The United States of America, by Kurt R. Erskine, United States

Attorney, and Samir Kaushal, Assistant United States Attorney for the

Northern District of Georgia, files this Motion to Continue Pretrial

Conference. The United States respectfully requests that the pretrial

conference be continued until April 20, 2022. In support, the

government states:

  1. The pretrial conference in this case is currently set for March 8,

2022, and the pretrial motion deadline is currently March 7, 2022. (Doc.

35.)

  2. The United States is requesting a continuance of the pretrial

conference for the following reasons. First, on December 7, 2021, the

United States filed a motion under Classified Information Procedures

Act (“CIPA”), 18 U.S.C. § App. 3. The CIPA process is currently ongoing.

Ultimately, completion of the CIPA process will be required to

determine the overall scope of discovery to be produced in this case.
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Second, the United States is still receiving some discovery from a

relevant party and would like time to provide these materials to the

defense. The United States anticipates that the final discovery

production from the relevant party will occur on or about March 8,

2022.

  3. The government has conferred with defense counsel on this

motion. The defense does not object to the proposed continuance.

  4. The ends of justice will be served by granting the continuance,

and those ends outweigh the interests of the public and the defendant

in a speedy trial, because such a continuance will conserve judicial

resources, will allow the parties the time needed to review incoming

discovery, and will allow the CIPA process to complete.

   WHEREFORE, the United States respectfully requests that the

pretrial conference be continued until April 20, 2022.




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                               Respectfully submitted,

                               K URT R. E RSKINE
                                  United States Attorney


                             /s/ S AMIR K AUSHAL
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The United States Attorney’s Office served this document today by

filing it using the Court’s CM / ECF system, which automatically notifies
the parties and counsel of record.


                          Brian Kelly

                          Robert Fisher

                          Lauren Maynard

                          Molly Parmer

                          Counsel for Defendant Gee-Kung Chang


March 3, 2022


                                     /s/ S AMIR K AUSHAL

                                     S AMIR K AUSHAL

                                     Assistant United States Attorney
